Filed 8/27/24 P. v. Scheetz CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                              DIVISION THREE


 THE PEOPLE,

       Plaintiff and Respondent,                                        G063588

           v.                                                           (Super. Ct. No. FVI21000983)

 CHRISTOPHER ALEXANDER                                                  OPINION
 SCHEETZ,

       Defendant and Appellant.



                   Appeal from a judgment of the Superior Court of San Bernardino
County, Shannon Faherty, Judge. Affirmed.
                   Mark D. Johnson, under appointment by the Court of Appeal, for
Defendant and Appellant.
                   Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General, Melissa
Mandel and Anne Spitzberg, Deputy Attorneys General, for Plaintiff and
Respondent.
            After a jury found Christopher Alexander Scheetz guilty of
multiple sex crimes, he was sentenced to an aggregate term of 63 years to
life. Scheetz appeals from the trial court’s denial of his counsel’s request to
suspend proceedings and hold a second competency hearing. We conclude he
failed to present new evidence or a substantial change in circumstances
casting a serious doubt on the validity of the jury’s previous finding that he
was competent. Accordingly, we affirm.
          FACTUAL BACKGROUND AND PROCEDURAL HISTORY
            On April 5, 2021, the San Bernardino County District
Attorney filed a felony complaint charging Scheetz with two counts of
committing a lewd act upon a child under age 14.
            On June 7, 2021, during pretrial proceedings, Scheetz’s counsel
declared a doubt as to Scheetz’s competency to stand trial pursuant to Penal
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Code section 1368 , and the trial court suspended criminal proceedings. On
August 5, 2022, a jury found Scheetz competent to stand trial.
            On August 17, 2022 the district attorney filed an information
charging appellant with sexual intercourse or sodomy with a child 10 years
old or younger (count 1, § 288.7(a)), oral copulation with a child 10 years old
or younger (count 2, § 288.7(b)), sexual penetration with a child 10 years old
or younger (count 3, § 288.7(b)), and lewd act upon a child under age 14
(count 4, § 288(a)).
            On September 15, 2022, defense counsel declared a doubt about
Scheetz’s competence to stand trial, and stated Scheetz would refuse further
evaluations. Counsel did not request another competency hearing, and
provided no evidence casting doubt on the prior competency finding.


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            All further statutory refences are to the Penal Code.

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            On January 31, 2023, defense counsel again declared a doubt
about appellant’s competence to stand trial and formally asked the court to
conduct a second competency hearing. Counsel argued Scheetz’s current
communications with the court and a handwritten letter casted doubt on the
prior finding of competency.
            Counsel noted that at the competency trial, a doctor had testified
about the handwritten letter. The doctor testified that during his evaluation
of Scheetz, Scheetz showed him a document. The doctor stated: “[I] observed
a handwritten -- I don’t know what to call it – it’s like a manifesto almost that
he prepared for counsel. And it was -- it looked psychotic to me. Frequently
when people are psychotic, they write in a very pinched, cramped manner.
And his language was very inappropriate for what he was asking for. The
words were insubstantial and didn’t seem to have any meeting.” The doctor
opined the document did not “make any sense at all.” “The words that were
used were designed, it seemed, to impress the reader with his extensive
vocabulary but it didn’t seem to be in any way grounded in reality . . . .” It
was “similar to the way [Scheetz] would talk when [the doctor had]
conversations with him . . . .”
            Defense counsel further noted the jury had requested to see the
“manifesto,” but it was never shown to the jury because it was never
introduced into evidence. At the time of the competency trial, counsel
explained why the document was never introduced into evidence. He stated:
“[E]ven though I’d had my client say he didn’t have any issue with it being
introduced regarding attorney-client privilege, since it is my position he is not
competent now, I don’t think he is probably in a position to waive those kinds
of issues. So I didn’t feel that it would probably be appropriate for me to
introduce the document into evidence, and then have to turn it over to the

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[district attorney] and things of that nature because of that. So that’s why I
ultimately made the decision not to introduce it even though it was
inadvertently referenced to because [the testifying doctor] had actually seen
it before.”
              Scheetz, however, testified at the hearing that the handwritten
letter submitted with the request for a second competency hearing was
different from the manifesto. The manifesto was about “a sense of culture
shock” and “the audacity and the persecution.” The handwritten letter is a
“legalese written profile . . . about my personal standing on how . . . to look
outside of myself in on [sic] a type of cultural jailhouse inmate population.”
In response to the court’s query, Scheetz stated he wrote the letter near the
beginning of the case.
              The trial court denied the request to suspend proceedings. It
found that Scheetz’s “communication style” was “odd,” but did not “rise to the
level of incompetence.” As to the letter, the court stated: “I don’t think that a
letter that was written near the beginning of the case is a substantial change
in circumstance.”
              On February 16, 2023, a jury found Scheetz guilty as charged.
He was sentenced to a determinate term of 8 years, followed by an
indeterminate term of 55 years to life.
                                 DISCUSSION
                                          I.
                            COMPETENCY HEARINGS
              “The due process clause of the federal Constitution’s Fourteenth
Amendment prohibits trying a criminal defendant who is mentally
incompetent. [Citation.] A defendant is deemed competent to stand trial only
if he “‘has sufficient present ability to consult with his lawyer with a

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reasonable degree of rational understanding’” and “‘has a rational as well as
factual understanding of the proceedings against him.”’” (People v. Ary (2011)
51 Cal.4th 510, 517 (Ary), quoting Dusky v. United States (1960) 362 U.S.
402, 402.) “When a trial court is presented with evidence that raises a
reasonable doubt about a defendant’s mental competence to stand trial,
federal due process principles require that trial proceedings be suspended
and a hearing be held to determine the defendant’s competence. [Citations.]
Only upon a determination that the defendant is mentally competent may
the matter proceed to trial. [Citation.]” (Ary, at p. 517.)
            “California law reflects those constitutional requirements.
Section 1368, in subdivision (a), requires a trial court to suspend criminal
proceedings at any time ‘prior to judgment’ if the court reasonably doubts ‘the
mental competence of the defendant.’ A defendant can create reasonable
doubt through substantial evidence of mental incompetence, or the trial court
can raise the issue on its own.” (Ary, supra, 51 Cal.4th at p. 517.) “‘[M]ore is
required to raise a doubt than mere bizarre actions [citation] or bizarre
statements [citation] or statements of defense counsel that defendant is
incapable of cooperating in his defense [citation] or psychiatric testimony that
defendant is immature, dangerous, psychopathic, or homicidal or such
diagnosis with little reference to defendant’s ability to assist in his own
defense [citation].’ [Citation.]” (People v. Ghobrial (2018) 5 Cal.5th 250, 270.)
            If a defendant has been found competent to stand trial, “a trial
court need not suspend proceedings to conduct a second competency hearing
unless ‘it is presented with a substantial change of circumstances or with new
evidence’ casting a serious doubt on the validity of that finding. [Citations.]”
(People v. Jones (1991) 53 Cal.3d 1115, 1153 (Jones).) A substantial change of
circumstances or new evidence casts a serious doubt on the validity of the

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prior finding if it “ma[kes] it unreasonable [for the trial court] to continue to
rely on the prior competence finding.” (People v. Rodas (2018) 6 Cal.5th 219,
235 (Rodas).) However, “the duty to suspend is not triggered by information
that substantially duplicates evidence already considered at an earlier,
formal inquiry into the defendant’s competence; when faced with evidence of
relatively minor changes in the defendant’s mental state, the court may rely
on a prior competency finding rather than convening a new hearing to cover
largely the same ground.” (Id. pp. 234-235.) “If in the course of [criminal]
proceedings the trial court learns of new facts and circumstances inconsistent
with the predicate assumptions, it has a duty to declare a doubt regarding
the defendant’s current competence and conduct a hearing on the subject.”
(People v. Tejeda (2019) 40 Cal.App.5th 785, 792.)
             A reviewing court applies “a deferential standard of review to a
trial court’s ruling concerning whether another competency hearing must be
held.” (People v. Huggins (2006) 38 Cal.4th 175, 220.) “We review for
substantial evidence the trial court’s finding of no substantial change of
circumstances or no new evidence casting serious doubt on the initial
competency determination.” (People v. Easter (2019) 34 Cal.App.5th 226, 243
(Easter).)
                                        II.
      THE TRIAL COURT PROPERLY DENIED THE REQUEST FOR A SECOND
                             COMPETENCY HEARING
             Because a jury previously found Scheetz was competent to stand
trial, he must present new evidence or a substantial change in circumstances
casting doubt on that prior finding before the trial court is required to
suspend proceedings. Scheetz’s request to suspend proceedings is based on:



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(1) his current communications with the court and counsel; and (2) a
handwritten letter.
            As to the handwritten letter, it is unclear whether this letter is
the same as the manifesto, which the jury heard about before making its
determination. To the extent the handwritten letter or its content would be
“new” to a factfinder, Scheetz does not explain how the letter casts doubt on
the prior competency finding. He acknowledges that, during the prior
competency trial, the jury heard expert testimony that the same or similar
document was evidence of psychosis. His argument on appeal is that seeing
the contents of the letter would be more impactful than hearing a brief
summary of the contents. While that may be true, it does not warrant
suspension of proceedings for a second competency hearing because the letter
and its contents constitute additional evidence of the same type of arguably
irrational behavior a jury had previously considered before making its finding
of competency. As the high court stated, “the duty to suspend is not triggered
by information that substantially duplicates evidence already considered at
an earlier, formal inquiry into the defendant’s competence.” (Rodas, supra, 6
Cal.5th at p. 234; see, e.g., People v. Mendoza (2016) 62 Cal.4th 856, 892 [a
doctor’s report that reiterates symptoms considered in a previous competency
hearing did not tend to undermine the jury’s prior finding]; People v. Lawley
(2002) 27 Cal.4th 102, 136-139 [no error in failing to conduct a second
competency hearing where proffered evidence affirmed “the same arguably
delusional beliefs reported” by experts in their previous competency
evaluations].)
            As to Scheetz’s communications with the court and counsel, the
trial court determined that, although Scheetz’s communications style was
odd, it did not demonstrate incompetence. This determination was based on

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the trial court’s observations, which the court may rely on to make its
determination. (See Jones, supra, 53 Cal.3d at p. 1153 [“[T]he trial court may
appropriately take its personal observations into account in determining
whether there has been some significant change in the defendant's mental
state”].) Moreover, the hearing transcripts show Scheetz understood the
court’s questions and provided responsive answers, albeit not in the most
concise manner. For example, when asked when the letter was written,
Scheetz answered it was “well before . . . we even put preliminary findings on
the record.” He also was cognizant when he was babbling and apologized.
            Finally, for the same reasons stated above, the duty to suspend
proceedings a second time was not triggered because the concerns over
Scheetz’s communications were considered by the jury in the first competency
hearing. As an example, in the competency trial, a testifying doctor explained
the language used in the manifesto, which seemed designed to impress with
extensive vocabulary but made no sense, was similar to how Scheetz
communicated with the doctor. The written request for suspending
proceedings asserted that “Mr. Scheetz[’s] behavior and bizarre
communication has not changed” since the first competency trial. The case
thus is distinguishable from Easter, supra, 34 Cal.App.5th 226, where the
defendant’s communications deteriorated over time. (See id. at p. 243 [noting
“defendant’s recent communications consist[ing] of jumbled words and
fanciful response . . . was different than anything described by [two experts]
and was not presented to the jury [in the prior competency hearing]”].) In
sum, the trial court did not err in denying the request to suspend proceedings
and conduct a second competency hearing.
            Our conclusion that the trial court did not err in refusing to
suspend criminal proceedings also disposes of Scheetz’s related due process

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claim. As he correctly notes, the due process clause of the federal
Constitution requires a hearing on competence to be held when a defendant
has come forward with substantial evidence of incompetence. (See, e.g., Ary,
51 Cal.4th at p. 517 [“When a trial court is presented with evidence that
raises a reasonable doubt about a defendant’s mental competence to stand
trial, federal due process principles require that trial proceedings be
suspended and a hearing be held to determine the defendant’s competence”].)
However, as discussed, Scheetz failed to present substantial evidence casting
doubt on the prior competency finding. Accordingly, he was not denied his
due process right to a competency hearing.


                                DISPOSITION
            The judgment is affirmed.




                                            DELANEY, J.


WE CONCUR:



MOTOIKE, ACTING P.J.



GOODING, J.




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